Case 22-19361-MBK             Doc 266       Filed 01/12/23 Entered 01/12/23 14:39:15                       Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11
 BlockFi Inc., et al.,
                                                               Case No. 22-19361 (MBK)
                            Debtors.1
                                                               (Jointly Administered)


                        MASTER SERVICE LIST AS OF JANUARY 12, 2023

          Pursuant to the ORDER GRANTING DEBTORS’ MOTION TO ESTABLISH CERTAIN

 NOTICE, CASE MANAGEMENT AND ADMINISTRATIVE PROCEDURES [Docket No. 54],

 attached hereto is the consolidated Master Service List, which is comprised of the Core Service

 List and the parties that have filed a notice of appearance and request for notices in the Debtors’

 cases as of January 12, 2023.

          The underlying spreadsheet is available for download on the Debtors’ restructuring website

 at https://restructuring.ra.kroll.com/blockfi.




 1
   The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification number, as
 applicable, are as follows: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi
 Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products
 LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service
 address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
                                                                 Case 22-19361-MBK                                             Doc 266                   Filed 01/12/23 Entered 01/12/23 14:39:15                                                                                Desc Main
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                                                                                                                                                                              In re: BlockFi Inc., et al.
                                                                                                                                                                                 Master Service List
                                                                                                                                                                             Case No. 22‐19361 (MBK)




                         DESCRIPTION                                                NAME                                            NOTICE NAME                                  ADDRESS 1                               ADDRESS 2               CITY       STATE      ZIP       COUNTRY            PHONE               FAX                     EMAIL

                                                             Ankura Trust Company, LLC, as Trustee for the
Indenture Trustee                                            Indenture Dated as of February 28, 2022       Attn: James J. McGinley                                 140 Sherman Street, 4th Floor                                            Fairfield       CT      06824                  203‐319‐6900                            james.mcginley@ankura.com
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Environmental Protection Agency ‐ Region 2                   Environmental Protection Agency                Attn: Bankruptcy Division                              290 Broadway                                                             New York        NY      1866                   212‐637‐3000             212‐637‐3526

Environmental Protection Agency                              Environmental Protection Agency                Attn: General Counsel                                  Office Of General Counsel 2310A          1200 Pennsylvania Ave NW, 2310A Washington      DC      20460
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                                                                                                                                                                       Case No. 22‐19361 (MBK)




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                       DESCRIPTION                                           NAME                                          NOTICE NAME                                     ADDRESS 1                             ADDRESS 2          CITY     STATE      ZIP       COUNTRY            PHONE       FAX                     EMAIL
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